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                                               Exhibit A

 #    Debtor(s)      Counterparty       Description of Contract or Lease                         Cure Amount
1.    Alameda        Tricor K.K.        PROFESSIONAL SERVICES AGREEMENT DATED                    $0
      Research KK                       3/19/2018
2.    Alameda        Aaron Gertler      Employee Invention Assignment And Confidentiality        $0
      Research LLC                      Agreement Dated 8/16/2018
3.    Alameda        Alex Gordon-       INVENTION ASSIGNMENT AND                                 $0
      Research LLC   Brown              CONFIDENTIALITY AGREEMENT
4.    Alameda        Allison Paul       PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                      AGREEMENT DATED 2/4/2018
5.    Alameda        Andrew Croghan     PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                      AGREEMENT DATED 9/9/2018
6.    Alameda        Andrew Hirschl     PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                      AGREEMENT DATED 1/7/2018
7.    Alameda        Andy Croghan       EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                      CONFIDENTIALITY AGREEMENT DATED 9/9/2018
8.    Alameda        Armani Ferrante    EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                      CONFIDENTIALITY AGREEMENT
9.    Alameda        Armani Ferrante    PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                      AGREEMENT DATED 2/1/2018
10.   Alameda        Ashwin Acharya     PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                      AGREEMENT DATED 12/19/2017
11.   Alameda        Asya Bergal        EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                      CONFIDENTIALITY AGREEMENT
12.   Alameda        Autun Dyudin       EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                      CONFIDENTIALITY AGREEMENT
13.   Alameda        Bailey Korell      EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                      CONFIDENTIALITY AGREEMENT DATED
                                        12/22/2021
14.   Alameda        Ben West           PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                      AGREEMENT DATED 2/18/2018
15.   Alameda        Benjamin           Employee Invention Assignment And Confidentiality        $0
      Research LLC   Goldhaber          Agreement Dated 7/12/2018
16.   Alameda        Benjamin Xie       Employee Invention Assignment And Confidentiality        $0
      Research LLC                      Agreement Dated 6/19/2021
17.   Alameda        Benjamin Xie       Employee Invention Assignment And Confidentiality        $0
      Research LLC                      Agreement Dated 6/19/2021
18.   Alameda        Carlos Mahomar     EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                      CONFIDENTIALITY AGREEMENT DATED 8/3/2021
19.   Alameda        Caroline Ellison   EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                      CONFIDENTIALITY AGREEMENT DATED
                                        8/16/2018
20.   Alameda        Caroline Ellison   PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                      AGREEMENT DATED 3/27/2018
21.   Alameda        Chad Jens          Proprietary Information And Inventions Agreement Dated   $0
      Research LLC                      1/28/2018
22.   Alameda        Curtis Morales     PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                      AGREEMENT DATED 2/19/2018
23.   Alameda        David Anand        Employee Invention Assignment And Confidentiality        $0
      Research LLC   Ratiney            Agreement Dated 1/29/2020
24.   Alameda        David Hazarian     EMPLOYMENT OFFER DATED 8/23/2022                         $0
      Research LLC




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 #    Debtor(s)      Counterparty      Description of Contract or Lease                         Cure Amount
25.   Alameda        Diana Ma          Employee Invention Assignment And Confidentiality        $0
      Research LLC                     Agreement Dated 12/17/2021
26.   Alameda        Folkvang, Srl     Proprietary Information And Inventions Agreement Dated   $0
      Research LLC                     3/3/2018
27.   Alameda        Matrix Trust      CUSTODIAL ACCOUNT AGREEMENT DATED                        $0
      Research LLC   Company           1/1/2020
28.   Alameda        Human Interest,   CUSTODIAL ACCOUNT AGREEMENT DATED                        $0
      Research LLC   Inc               1/1/2020
29.   Alameda        Human Interest    CUSTODIAL ACCOUNT AGREEMENT DATED                        $0
      Research LLC   Advisors LLC      1/1/2020
30.   Alameda        Human Interest,   MASTER SERVICES AGREEMENT DATED 3/7/2019                 $0
      Research LLC   Inc.
31.   Alameda        Human Interest    HUMAN INTEREST SERVICES AGREEMENT                        $0
      Research LLC   Advisors LLC      DATED 11/20/2020
32.   Alameda        Human Interest    HUMAN INTEREST SERVICES AGREEMENT                        $0
      Research LLC   Inc.              DATED 11/20/2020
33.   Alameda        Igor Terzic       EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                     CONFIDENTIALITY AGREEMENT
34.   Alameda        Igor Terzic       PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                     AGREEMENT DATED 1/30/2018
35.   Alameda        Jacob Fauman      EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                     CONFIDENTIALITY AGREEMENT DATED
                                       8/16/2018
36.   Alameda        Jacob Wilson      EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                     CONFIDENTIALITY AGREEMENT
37.   Alameda        Jacob Wilson      PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                     AGREEMENT DATED 12/22/2017
38.   Alameda        James Drain       Employee Invention Assignment & Confidentiality          $0
      Research LLC                     Agreement Dated 1/23/2019
39.   Alameda        Jay Mithani       Employee Invention Assignment & Confidentiality          $0
      Research LLC                     Agreement Dated 11/28/2020
40.   Alameda        John Trabucco     Proprietary Information And Inventions Agreement Dated   $0
      Research LLC                     10/28/2018
41.   Alameda        Ketan             Employee Invention Assignment And Confidentiality        $0
      Research LLC   Ramakrishnan      Agreement Dated 3/23/2022
42.   Alameda        Lena Ngoy         EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                     CONFIDENTIALITY AGREEMENT DATED
                                       6/23/2019
43.   Alameda        Lena Ngoy         EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                     CONFIDENTIALITY AGREEMENT DATED 5/7/2019
44.   Alameda        Leopold           Employee Invention Assignment And Confidentiality        $0
      Research LLC   Aschenbrenner     Agreement Dated 2/23/2022
45.   Alameda        Lucas Friss       Employee Invention Assignment And Confidentiality        $0
      Research LLC                     Agreement
46.   Alameda        Maria Alovert     Proprietary Information And Inventions Agreement Dated   $0
      Research LLC                     1/4/2018
47.   Alameda        Mark Hurwich      Proprietary Information And Inventions Agreement Dated   $0
      Research LLC                     10/28/2018
48.   Alameda        Mary Wilcox       Proprietary Information And Inventions Agreement Dated   $0
      Research LLC                     1/2/2018
49.   Alameda        Nate Parke        Employee Invention Assignment And Confidentiality        $0
      Research LLC                     Agreement Dated 10/19/2018
50.   Alameda        Ngoy Ngoy         EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                     CONFIDENTIALITY AGREEMENT DATED
                                       8/19/2018
51.   Alameda        Niel Bowerman     Proprietary Information And Inventions Agreement Dated   $0
      Research LLC                     12/19/2017
52.   Alameda        Nishad Singh      PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                     AGREEMENT DATED 1/16/2018


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 #    Debtor(s)          Counterparty      Description of Contract or Lease                         Cure Amount
53.   Alameda            Peter Mcintyre    Employee Invention Assignment And Confidentiality        $0
      Research LLC                         Agreement
54.   Alameda            Peter Mcintyre    PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                         AGREEMENT DATED 3/3/2018
55.   Alameda            Ramnik Arora      EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                         CONFIDENTIALITY AGREEMENT DATED
                                           8/26/2020
56.   Alameda            Roxanne Heston    Proprietary Information And Inventions Agreement Dated   $0
      Research LLC                         12/21/2017
57.   Alameda            Ryan Ngoy         Proprietary Information And Inventions Agreement Dated   $0
      Research LLC                         12/21/2017
58.   Alameda            Ryan Salame       Employee Invention Assignment And Confidentiality        $0
      Research LLC                         Agreement Dated 6/6/2019
59.   Alameda            Sam Trabucco      EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                         CONFIDENTIALITY AGREEMENT DATED
                                           10/28/2018
60.   Alameda            Stephanie W       Employee Invention Assignment And Confidentiality        $0
      Research LLC       Zolayvar          Agreement
61.   Alameda            Stephanie         Proprietary Information And Inventions Agreement Dated   $0
      Research LLC       Zolayvar          2/6/2018
62.   Alameda            Takashi Hidaka    Proprietary Information And Inventions Agreement Dated   $0
      Research LLC                         3/13/2018
63.   Alameda            Takashi Hidaka    Employee Invention Assignment And Confidentiality        $0
      Research LLC                         Agreement Dated 8/17/2018
64.   Alameda            Tim WIlson        EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                         CONFIDENTIALITY AGREEMENT DATED
                                           7/14/2022
65.   Alameda            Toby Consulting   Employee Invention Assignment And Confidentiality        $0
      Research LLC       Services, Inc.    Agreement Dated 9/29/2022
66.   Alameda            Tricor K. K.      PROFESSIONAL SERVICES AGREEMENT                          $0
      Research LLC                         AMENDMENT DATED 10/3/2018
67.   Alameda            Tricor K.K.       SCOPE OF SERVICES AND OUR CHARGES DATED                  $0
      Research LLC                         4/5/2018
68.   Alameda            Tricor K.K.       SCOPE OF SERVICES AND OUR CHARGES DATED                  $0
      Research LLC                         5/2/2018
69.   Alameda            Tricor Tax        SCOPE OF SERVICES AND OUR CHARGES TAX                    $0
      Research LLC       Corporation       SERVICES DATED 3/29/2018
70.   Alameda            Tristan Pascal    Employee Invention Assignment And Confidentiality        $0
      Research LLC       Yver              Agreement Dated 3/21/2020
71.   Alameda            Troy Tsui         EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                         CONFIDENTIALITY AGREEMENT DATED
                                           10/29/2018
72.   Alameda            Troy Tsui         PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                         AGREEMENT DATED 10/29/2018
73.   Alameda            Victor Xu         PROPRIETARY INFORMATION AND INVENTIONS                   $0
      Research LLC                         AGREEMENT DATED 1/30/2018
74.   Alameda            Zach Marc         Employee Invention Assignment And Confidentiality        $0
      Research LLC                         Agreement Dated 8/7/2022
75.   Alameda            Zhi Low           EMPLOYEE INVENTION ASSIGNMENT AND                        $0
      Research LLC                         CONFIDENTIALITY AGREEMENT DATED
                                           9/11/2018
76.   Alameda            Zhi-He Low        Proprietary Information And Inventions Agreement Dated   $0
      Research LLC                         9/11/2018
77.   Blockfolio, Inc.   Alec Ziupsnys     PROPRIETARY INFORMATION AND INVENTIONS                   $0
                                           AGREEMENT DATED 1/7/2020
78.   Blockfolio, Inc.   Charles Mason     Confirmatory Assignment Agreement Dated 10/9/2020        $0

79.   Blockfolio, Inc.   Charles Mason     Proprietary Information And Inventions Agreement Dated   $0
                                           6/20/2018


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 #    Debtor(s)          Counterparty        Description of Contract or Lease                         Cure Amount
80.   Blockfolio, Inc.   David Hoover        Proprietary Information And Inventions Agreement Dated   $0
                                             11/15/2018
81.   Blockfolio, Inc.   Edward Moncada      Confirmatory Assignment Agreement Dated                  $0
                                             10/9/2020
82.   Blockfolio, Inc.   Edward Moncada      Proprietary Information And Inventions Agreement Dated   $0
                                             6/19/2018
83.   Blockfolio, Inc.   Kenneth Feldman     Confirmatory Assignment Agreement Dated 10/9/2020        $0

84.   Blockfolio, Inc.   Kenneth Feldman     Proprietary Information And Inventions Agreement Dated   $0
                                             6/19/2018
85.   Blockfolio, Inc.   Peter Lau           Confirmatory Assignment Agreement Dated 10/9/2020        $0

86.   Blockfolio, Inc.   Peter Lau           Proprietary Information And Inventions Agreement Dated   $0
                                             6/19/2018
87.   Deck               Maxwell Wood        EMPLOYEE PROPRIETARY INFORMATION AND                     $0
      Technologies                           INVENTIONS ASSIGNMENT AGREEMENT DATED
      Inc.                                   8/1/2022


88.   FTX Japan          Circle Internet     MULTISIGNATURE WALLET AGREEMENT DATED                    $0
      Holdings K.K.      Financial, LLC      3/14/2022
89.   FTX Property       3B Tetris Ltd.      Indenture And Deed Of Conveyance - Unit No. 2E In The    $0
      Holdings, Ltd.                         Marina Residences At Albany Building 4 Condominium,
                                             Albany Subdivision, Western District, New Providence,
                                             The Bahamas Dated 5/30/2022
90.   FTX Property       3B Tetris Ltd.      Sale And Purchase Agreement - Unit No. 2E In The         $0
      Holdings, Ltd.                         Marina Residences At Albany Building 4 Condominium,
                                             Albany Situate Dated 2/15/2022
91.   FTX Property       Albany              Letter Agreement - Re: Construction Of "Ftx House" At    $0
      Holdings, Ltd.     Developer, Ltd.     Albany Dated 12/6/2021
92.   FTX Property       Albany              Indenture And Deed Of Conveyance, Duplex 2,              $0
      Holdings, Ltd.     Community           Albany Situate, New Providence, The Bahamas
                         Association, Ltd.   Dated 12/21/2021
93.   FTX Property       Albany              Indenture And Deed Of Conveyance - Unit 6, Albany        $0
      Holdings, Ltd.     Community           Situate, New Providence, Bahamas Dated 1/18/2022
                         Association, Ltd.
94.   FTX Property       Albany              Indenture And Deed Of Conveyance - Unit No. Id,          $0
      Holdings, Ltd.     Community           Building 9, Gemini, Marina Residences At Albany
                         Association, Ltd.   Subdivision, Western District, New Providence, The
                                             Bahamas Dated 6/9/2022
95.   FTX Property       Albany              Indenture And Deed Of Conveyance - Unit No. 2E In The    $0
      Holdings, Ltd.     Community           Marina Residences At Albany Building 4 Condominium,
                         Association, Ltd.   Albany Subdivision, Western District, New Providence,
                                             The Bahamas Dated 5/30/2022

96.   FTX Property       Albany              Indenture And Deed Of Conveyance - Unit 1A, Albany       $0
      Holdings, Ltd.     Community           Situate, New Providence, The Bahamas Dated 9/13/2022
                         Association, Ltd.
97.   FTX Property       Albany              Indenture And Deed Of Conveyance - Unit 2C, Building     $0
      Holdings, Ltd.     Community           1, Albany Subdivision, Western District, New
                         Association, Ltd.   Providence, The Bahamas Dated 8/2/2022
98.   FTX Property       Albany              Indenture And Deed Of Conveyance - Lot 44, Albany,       $0
      Holdings, Ltd.     Community           New Providence, Bahamas Dated 2/16/2022
                         Association, Ltd.
99.   FTX Property       Albany              Assignment Of Purchase Agreement - Unit 4A In The        $0
      Holdings, Ltd.     Community           Marina Residences At Albany Building 10 Condominium
                         Association, Ltd.   In The Development Known As Albany
                                             Situate Dated 12/15/2021



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 #   Debtor(s)        Counterparty        Description of Contract or Lease                        Cure Amount
100. FTX Property     Albany              Membership Interest Transfer Agreement with Lumina      $0
     Holdings, Ltd.   Community           Domus Holdings Limited dated 25th April, 2022
                      Association, Ltd.
101. FTX Property     Albany              Membership Interest Transfer Agreement with Milos       $0
     Holdings, Ltd.   Community           Raonic 2nd August, 2022
                      Association, Ltd.
102. FTX Property     Albany              Membership Interest Transfer Agreement with 3B Tetris   $0
     Holdings, Ltd.   Community           Ltd. - undated
                      Association, Ltd.
103. FTX Property     Albany              Conveyance with Gold Blossom Estate Ltd. dated 28th     $0
     Holdings, Ltd.   Community           July, 2022, unrecorded
                      Association, Ltd.
104. FTX Property     Albany              Membership Interest Transfer Agreement with Stamford    $0
     Holdings, Ltd.   Community           House Limited dated 18th January, 2022
                      Association, Ltd.
105. FTX Property     Albany              Agreement with Park ridge Securities Corp. dated 5th    $0
     Holdings, Ltd.   Community           November, 2021
                      Association, Ltd.
106. FTX Property     Albany              Purchase Agreement with Albany Land Company, Ltd.       $0
     Holdings, Ltd.   Community           dated 24th November, 2021
                      Association, Ltd.
107. FTX Property     Albany              Purchase Agreement- Unit 2C Dated 12/20/2021            $0
     Holdings, Ltd.   Condominium,
                      Ltd C/O Glinton
                      Sweeting O’Brien
108. FTX Property     Albany              Indenture And Deed Of Conveyance - Unit 3E In The       $0
     Holdings, Ltd.   Condominium,        Marina Residences At Albany Building 1 Condominium
                      Ltd.                (Honeycomb), Albany Subdivision, Western District,
                                          New Providence, The Bahamas Dated 4/11/2022
109. FTX Property     Albany              Sale And Purchase Agreement - Unit No. 3D In The        $0
     Holdings, Ltd.   Condominium,        Marina Residences At Albany Building 4 Condominium,
                      Ltd.                Albany Situate Dated 11/5/2021
110. FTX Property     Albany              Purchase And Sale Agreement - Unit No. 3E In The        $0
     Holdings, Ltd.   Condominium,        Marina Residences At Albany Building 1 Condominium,
                      Ltd.                Albany Situate Dated 3/8/2022
111. FTX Property     Albany              Sale And Purchase Agreement - Unit No. 2A In The        $0
     Holdings, Ltd.   Condominium,        Marina Residences At Albany Building 1 Condominium,
                      Ltd.                Albany Situate Dated 12/6/2021
112. FTX Property     Albany              Letter Agreement Re: Purchase Of Unit 2C, Building 7-   $0
     Holdings, Ltd.   Condominium,        Coral In Albany Dated 12/16/2021
                      Ltd.
113. FTX Property     Albany              Sale And Purchase Agreement - Unit No. 2C In The        $0
     Holdings, Ltd.   Condominium,        Marina Residences At Albany Building 7 Condominium,
                      Ltd.                Albany Situate Dated 12/16/2021
114. FTX Property     Albany              Sale And Purchase Agreement - Unit No. 3B In The        $0
     Holdings, Ltd.   Condominium,        Marina Residences At Albany Building 8 Condominium,
                      Ltd.                Albany Situate
115. FTX Property     Albany              Albany Bldg. 1 Unit 2A (Honeycomb) - Purchaser's        $0
     Holdings, Ltd.   Condominium,        Closing Statement
                      Ltd.
116. FTX Property     Albany              Albany Bldg. 1 Unit 2A (Honeycomb) - Purchase           $0
     Holdings, Ltd.   Condominium,        Agreement (fully executed)
                      Ltd.
117. FTX Property     Albany              Albany Bldg. 4 Unit 3D (Tetris) - Purchase Agreement    $0
     Holdings, Ltd.   Condominium,        [fully executed]
                      Ltd.
118. FTX Property     Albany              Indenture and deed of conveyance2021-12-21 Fully        $0
     Holdings, Ltd.   Condominium,        Executed Conveyance- 3D-B4 Albany Bldg. 4 Unit 3D
                      Ltd.                (Tetris)



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 #   Debtor(s)        Counterparty       Description of Contract or Lease                          Cure Amount
119. FTX Property     Albany             Indenture and deed of conveyance2022-01-18 Fully          $0
     Holdings, Ltd.   Condominium,       Executed Conveyance 2A-B1 Albany Bldg. 1 Unit 2A
                      Ltd.               (Honeycomb)
120. FTX Property     Albany             Indenture and deed of conveyance2021-11-19 Fully          $0
     Holdings, Ltd.   Condominium,       Executed Conveyance 3B-B8 Albany Bldg. 8 Unit 3B
                      Ltd.               (Orchid)
121. FTX Property     Albany             Purchase Agreement- Unit 2E Dated 3/8/2022                $0
     Holdings, Ltd.   Condominium,
                      Ltd. C/O
                      Glinton
                      Sweeting
                      O’Brien
122. FTX Property     Albany Home        Albany Property Services Agreement                        $0
     Holdings, Ltd.   Services, Ltd.
123. FTX Property     Albany Land        Letter Agreement - Re: Construction Of "Ftx House" At     $0
     Holdings, Ltd.   Company, Ltd       Albany Dated 12/6/2021
124. FTX Property     Albany Land        Indenture And Deed Of Conveyance - Lot 44, Albany,        $0
     Holdings, Ltd.   Company, Ltd.      New Providence, Bahamas Dated 2/16/2022
125. FTX Property     Albany Land        Albany Lot #44 - Conch Shack - Completion Statement &     $0
     Holdings, Ltd.   Company, Ltd.      Closing Statement
126. FTX Property     Albany Land        Albany Lot #44 - Conch Shack - Purchase Agreement         $0
     Holdings, Ltd.   Company, Ltd.
127. FTX Property     Albany Land        Albany Purchase Agreement- Unit 44 Dated 11/24/2021       $0
     Holdings, Ltd.   Company, Ltd.
                      C/O Glinton
                      Sweeting O’Brien
128. FTX Property     Albany Resort      Rental Management Agreement - Unit 3E, Building 1         $0
     Holdings, Ltd.   Operator, Ltd.     Dated 3/8/2022
129. FTX Property     Albany Resort      Rental Management Agreement - Unit 2C, Building 7         $0
     Holdings, Ltd.   Operator, Ltd.     Dated 12/16/2021
130. FTX Property     Alshehail and      Albany Bldg. 4 Unit D2 (Tetris) - Purchaser's Closing     $0
     Holdings, Ltd.   Alsheikh           Statement
131. FTX Property     Any Name Is Fine   Sale And Purchase Agreement - Unit No. 4A In The          $0
     Holdings, Ltd.   Limited            Marina Residences At Albany Building 10
                                         Condominium, Albany Situate Dated 10/21/2021
132. FTX Property     Any Name Is Fine   Supplemental Agreement - Unit No. 4A In The Marina        $0
     Holdings, Ltd.   Limited            Residences At Albany Building 10 Condominium,
                                         Albany, New Providence, The Bahamas Dated
                                         10/31/2021
133. FTX Property     Any Name Is Fine   Assignment Of Purchase Agreement - Unit 4A In The         $0
     Holdings, Ltd.   Limited            Marina Residences At Albany Building 10 Condominium
                                         In The Development Known As Albany Situate Dated
                                         12/15/2021
134. FTX Property     Any Name Is Fine   Sale And Purchase Agreement - Unit No. 4A In The          $0
     Holdings, Ltd.   Limited            Marina Residences At Albany Building 10
                                         Condominium, Albany Situate Dated 12/16/2021
135. FTX Property     ANY NAME IS        Albany Bldg. 10 Unit 4A (Charles) - Supplemental          $0
     Holdings, Ltd.   FINE Ltd.          Agreement
136. FTX Property     ANY NAME IS        Albany Bldg. 10 Unit 4A (Charles) - Purchasers' Closing   $0
     Holdings, Ltd.   FINE Ltd.          statement, wire transfer instructions, purchaser's
                      Albany             completion statement and amended purchaser's
                      Condominium        completion statement
                      Ltd.
137. FTX Property     Bayside Estates    Sale And Purchase Agreement - Tract Of Land               $0
     Holdings, Ltd.   Ltd.               Comprising 4.95 Acres Situate On West Bay Street And
                                         West Of Blake Road In The Island Of New Providence
                                         Dated 10/6/2021
138. FTX Property     Between Bayside    Conveyance Agreement Dated 1/19/2022                      $0
     Holdings, Ltd.   Estates Ltd.



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 #   Debtor(s)        Counterparty         Description of Contract or Lease                         Cure Amount
139. FTX Property     Bryson Aldrich-      Sale And Purchase Agreement - Unit No. 1B In The         $0
     Holdings, Ltd.   Dechambeau           Marina Residences At Albany Building 3 Condominium,
                                           Albany Situate Dated 10/13/2021
140. FTX Property     Bryson Aldrich-      Albany Bldg. 3 Unit 1B (Cube) - Purchaser's Completion   $0
     Holdings, Ltd.   Dechambeau           Statement
141. FTX Property     Bryson Aldrich-      Albany Purchase Agreement- Unit 1B Dated 10/14/2021      $0
     Holdings, Ltd.   Dechambeau C/O
                      Glinton Sweeting
                      O’Brien
142. FTX Property     Clement T.           Purchaser's Completion Statement                         $0
     Holdings, Ltd.   Maynard &
                      Company
143. FTX Property     Dave Doherty         Sale And Purchase Agreement - Unit Number 207 Of The     $0
     Holdings, Ltd.                        Condominium Known As “One Cable Beach” Situate In
                                           The Western District Of The Island Of New Providence
                                           Dated 5/30/2022
144. FTX Property     Dave Doherty         Real Estate Agreement Dated 5/1/2022                     $0
     Holdings, Ltd.
145. FTX Property     Dave Doherty         Sale And Purchase Agreement - Unit Number 207 Of The     $0
     Holdings, Ltd.                        Condominium Known As “One Cable Beach” Situate In
                                           The Western District Of The Island Of New Providence
                                           Dated 5/30/2022
146. FTX Property     Dino Global Ltd      Purchaser's Completion Statement                         $0
     Holdings, Ltd.
147. FTX Property     Dino Global Ltd      Indenture And Deed Of Conveyance - Unit 1A, Albany       $0
     Holdings, Ltd.                        Situate, New Providence, The Bahamas Dated 9/13/2022
148. FTX Property     Dino Global Ltd.     Purchase Agreement- Unit 1A Dated 6/17/2022              $0
     Holdings, Ltd.   C/O Sean B.
                      Callender & Co.
149. FTX Property     Dino Global Ltd.     Purchase Agreement- Unit 1A Dated 9/1/2022               $0
     Holdings, Ltd.   C/O Sean B.
                      Callender & Co.
150. FTX Property     Gold Blossom         Sale And Purchase Agreement - Unit No. 5A In The         $0
     Holdings, Ltd.   Estate Ltd.          Marina Residences At Albany Building 10
                                           Condominium, Albany Situate Dated 2/8/2022
151. FTX Property     Gold Blossom         Albany Bldg. 10 Unit 4A (Charles) - Indenture and deed   $0
     Holdings, Ltd.   Estate Ltd.,         of conveyance (28 July 2022)
                      Albany
                      Community
                      Association, Ltd.,
                      The Marina
                      Residences At
                      Albany Building
                      10 Condominium
                      Association
152. FTX Property     Gregory And          Conveyance Agreement Dated 5/19/2022                     $0
     Holdings, Ltd.   Gabriella Curry
153. FTX Property     Gregory L.           Real Estate Agreement Dated 5/20/2022                    $0
     Holdings, Ltd.   Curry And
                      Gabriella A.
                      Curry
154. FTX Property     Gregory L.           Assignment of Chattels from Gregory and Gabriella        $0
     Holdings, Ltd.   Curry and            Curry dated 18th May, 2022, unrecorded
                      Gabriella A.
                      Curry
155. FTX Property     Gregory L.           Conveyance with Gregory and Gabriella Curry dated 19th   $0
     Holdings, Ltd.   Curry and            May, 2022, Vol. 13853, Pgs. 570-581
                      Gabriella A.



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 #   Debtor(s)        Counterparty        Description of Contract or Lease                         Cure Amount
                      Curry

156. FTX Property     Gregory L.          Sale and Purchase Agreement 2022-03-28 Agreement         $0
     Holdings, Ltd.   Curry and           For Sale [Executed By Purchaser] Old Fort Bay Lots 5A
                      Gabriella A.        & 5B - Fincastle Island
                      Curry
157. FTX Property     Hewatt Holdings     Offer To Purchase - One Cable Beach – Unit 502 Dated     $0
     Holdings, Ltd.   Ltd                 4/19/2022
158. FTX Property     Hussam Sultan M.    Sale And Purchase Agreement - Unit No. Duplex 2 In The   $0
     Holdings, Ltd.   Alshehail & Haifa   Marina Residences At Albany Building 4 Condominium,
                      M.A. Alsheikh       Albany Situate Dated 11/16/2021
159. FTX Property     Hussam Sultan       Indenture And Deed Of Conveyance, Duplex 2,              $0
     Holdings, Ltd.   M. Alshehail        Albany Situate, New Providence, The Bahamas
                      And Haifa M. A.     Dated 12/21/2021
                      Alsheikh
160. FTX Property     Jmk Investments     Deed Of Conveyance Dated 7/15/2022                       $0
     Holdings, Ltd.   Inc.
161. FTX Property     Jmk Investments     Sale And Purchase Agreement - Unit Number G12 Of         $0
     Holdings, Ltd.   Inc.                The Condominium Known As “One Cable Beach”
                                          Situate In The Western District Of The Island Of New
                                          Providence Dated 5/30/2022
162. FTX Property     JMK Investments     One Cable Beach Unit G12 - Sale and Purchase             $0
     Holdings, Ltd.   Inc.                Agreement [23 pages in total]
163. FTX Property     Kevway Limited      Sale And Purchase Agreement - Unit Number 39 Of          $0
     Holdings, Ltd.                       "Turnberry Development" Dated 10/18/2021

164. FTX Property     Lemina Domus        Indenture And Deed Of Conveyance - Unit No. Id,          $0
     Holdings, Ltd.   Holdings Limited    Building 9, Gemini, Marina Residences At Albany
                                          Subdivision, Western District, New Providence, The
                                          Bahamas Dated 6/9/2022
165. FTX Property     Long Island         Conveyance Agreement Dated 6/15/2022                     $0
     Holdings, Ltd.   Diamonds
                      Limited
166. FTX Property     Long Island         Real Estate Agreement Dated 3/8/2022                     $0
     Holdings, Ltd.   Diamonds
                      Limited
167. FTX Property     Long Island         Agreement Dated 3/4/2022                                 $0
     Holdings, Ltd.   Diamonds
                      Limited
168. FTX Property     Lumina Domus        Sale And Purchase Agreement - Unit No. 1D In The         $0
     Holdings, Ltd.   Holdings Limited    Marina Residences At Albany Building 9 Condominium,
                                          Albany Situate Dated 4/12/2022
169. FTX Property     Lumina Domus        Purchase Agreement- Unit 1D Dated 3/31/2022              $0
     Holdings, Ltd.   Holdings Limited
                      C/O Glinton
                      Sweeting O’Brien
170. FTX Property     Lumina Domus        Indenture and deed of conveyance2022-06-09               $0
     Holdings, Ltd.   Holdings Ltd.;      Conveyance - Lumina Domus to FTX-Unit 1D-B9 -
                      Albany              FULLY EXECUTED Albany Bldg. 9 Unit 1D (Gemini)
                      Community
                      Association,
                      Ltd.; The
                      marina
                      residences at
                      Albany
                      Buildings 9
                      Condominium
                      Association



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 #   Debtor(s)        Counterparty         Description of Contract or Lease                         Cure Amount
171. FTX Property     Milos Raonic         Indenture And Deed Of Conveyance - Unit 2C, Building     $0
     Holdings, Ltd.                        1, Albany Subdivision, Western District, New
                                           Providence, The Bahamas Dated 8/2/2022
172. FTX Property     Milos Raonic         Sale And Purchase Agreement - Unit No. 2C In The         $0
     Holdings, Ltd.                        Marina Residences At Albany Building 1 Condominium,
                                           Albany Situate
173. FTX Property     Milos Raonic         Sale And Purchase Agreement - Unit No. 2C In The         $0
     Holdings, Ltd.                        Marina Residences At Albany Building 1 Condominium,
                                           Albany Situate Dated 6/8/2022
174. FTX Property     Ocean Terrace        Real Estate Agreement Dated 3/8/2022                     $0
     Holdings, Ltd.   (By Sterling) Ltd
175. FTX Property     Ocean Terrace        Sale And Purchase Agreement - 5.295 Acres, Caves West    $0
     Holdings, Ltd.   (By Sterling) Ltd    Bay Street And East Of Blake Road Dated 11/12/2021
176. FTX Property     Ocean Terrace        Conveyance with Ocean Terrace (By Sterling) Ltd. dated   $0
     Holdings, Ltd.   (By Sterling) Ltd    8th March, 2022, Vol. 13805, Pgs. 317-325
177. FTX Property     Ocean Terrace        Assignment of Leases & Rents with Ocean Terrace (By      $0
     Holdings, Ltd.   (By Sterling) Ltd    Sterling) Ltd. dated 8th March, 2022
178. FTX Property     Ocean Terrace        Real Estate Agreement Dated 11/12/2021                   $0
     Holdings, Ltd.   (By Sterling) Ltd.
179. FTX Property     Ocean Terrace (by    Sale and Purchase Agreement 2021-11-18 Agreement         $0
     Holdings, Ltd.   Sterling) Ltd.       For Sale Ocean Terraces Fully Executed Ocean Terrace
                                           (Entire complex)
180. FTX Property     One Cable Beach      Deed Of Conveyance Dated 7/18/2022                       $0
     Holdings, Ltd.   Association
181. FTX Property     One Cable Beach      Deed Of Conveyance Dated 7/15/2022                       $0
     Holdings, Ltd.   Association
182. FTX Property     One Cable Beach      Conveyance with Dave Dohetry Dated 5th July, 2022,       $0
     Holdings, Ltd.   Association          Vol. 13901 Pgs. 262-273
183. FTX Property     One Cable Beach      Offer to Purchase dated 19th April, 2022                 $0
     Holdings, Ltd.   Association
184. FTX Property     One Cable Beach      Conveyance with JMK Investments Inc. dated 15th July,    $0
     Holdings, Ltd.   Association          2022, Vol. 13901, Pgs. 228-239
185. FTX Property     Park Ridge           Letter Agreement - Re: Construction Of "Ftx House" At    $0
     Holdings, Ltd.   Securities Corp      Albany Dated 12/6/2021
186. FTX Property     Park Ridge           Letter Agreement Re: Purchase Of Unit 2A, Building 1-    $0
     Holdings, Ltd.   Securities Corp.     Honeycomb In Albany Dated 12/6/2021
187. FTX Property     Park Ridge           Letter Agreement Re: Purchase Of Unit 3D. Building 4-    $0
     Holdings, Ltd.   Securities Corp.     Tetris In Albany Dated 11/5/2021
188. FTX Property     Park Ridge           Letter Agreement Re: Purchase Of Unit Ib. Building 3     $0
     Holdings, Ltd.   Securities Corp.     Cube In Albany Dated 10/14/2021
189. FTX Property     Park Ridge           Letter Agreement Re: Purchase Of Unit 3B, Building 8-    $0
     Holdings, Ltd.   Securities Corp.     Orchid In Albany Dated 10/15/2021
190. FTX Property     Park Ridge           Letter Agreement Re: Purchase Of Unit 2C, Building 7-    $0
     Holdings, Ltd.   Securities Corp.     Coral In Albany Dated 12/16/2021
191. FTX Property     Pbm Albany LLC       Sale And Purchase Agreement - Unit No. 3B In The         $0
     Holdings, Ltd.                        Marina Residences At Albany Building 10
                                           Condominium, Albany Situate Dated 2/11/2022
192. FTX Property     Pbm Albany           Albany Purchase Agreement- Unit 3B Dated 2/14/2022       $0
     Holdings, Ltd.   LLC C/O
                      Clinton
                      Sweeting
                      O’Brien
193. FTX Property     Pineapple House      Real Estate Agreement Dated 2/28/2022                    $0
     Holdings, Ltd.   Investments Ltd.




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 #   Debtor(s)        Counterparty         Description of Contract or Lease                        Cure Amount
194. FTX Property     Pineapple House      Sale Agreement2022-03-09 Agreement For Sale             $0
     Holdings, Ltd.   Investments Ltd.     [Fully Executed] (1) Pineapple House (Building #10)
195. FTX Property     Pineapple            Deed of conveyance2022-07-22-Conveyance- Pineapple      $0
     Holdings, Ltd.   House                House Investments to FTX Property FULLY
                      Investments          EXECUTED Pineapple House (Building #10)
                      Ltd.; Offices
                      at Old Fort
                      Bay
                      Association
                      Ltd.
196. FTX Property     Samco Bahamas        Deed Of Conveyance Dated 7/18/2022                      $0
     Holdings, Ltd.   Ltd.
197. FTX Property     Samco Bahamas        Real Estate Agreement Dated 4/1/2022                    $0
     Holdings, Ltd.   Ltd.

198. FTX Property     Stamford House       Real Estate Agreement -Unit No.6 Of The Marina          $0
     Holdings, Ltd.   Limited              Residences At Albany Building 8 Condominium, Albany
                                           Situate Dated 11/1/2021
199. FTX Property     Stamford House       Supplemental Agreement                                  $0
     Holdings, Ltd.   Limited
200. FTX Property     Stamford House       Sale And Purchase Agreement - Unit No. 6 Of The         $0
     Holdings, Ltd.   Limited              Marina Residences At Albany Building 8 Condominium,
                                           Albany Situate Dated 1/31/2022
201. FTX Property     Stamford House       Supplemental Agreement - Unit No.6 Of The Marina        $0
     Holdings, Ltd.   Limited              Residences At Albany, Building 8 Dated 11/15/2021

202. FTX Property     Stamford House       Purchase Agreement- Unit No. 6 Of The Marina            $0
     Holdings, Ltd.   Limited C/O          Residences At Albany Building 8 Condominium
                      Lennox Paton         Dated 11/1/2021
203. FTX Property     Stamford House       Indenture And Deed Of Conveyance - Unit 6, Albany       $0
     Holdings, Ltd.   Ltd.                 Situate, New Providence, Bahamas Dated 1/18/2022
204. FTX Property     The Marina           Indenture And Deed Of Conveyance - Unit 2C, Building    $0
     Holdings, Ltd.   Residences At        1, Albany Subdivision, Western District, New
                      Albany Building 1    Providence, The Bahamas Dated 8/2/2022
                      Condominium
                      Association
205. FTX Property     The Marina           Indenture And Deed Of Conveyance, Duplex 2,             $0
     Holdings, Ltd.   Residences At        Albany Situate, New Providence, The Bahamas
                      Albany Building 4    Dated 12/21/2021
                      Condominium
                      Association
206. FTX Property     The Marina           Indenture And Deed Of Conveyance - Unit No. 2E In The   $0
     Holdings, Ltd.   Residences At        Marina Residences At Albany Building 4 Condominium,
                      Albany Building 4    Albany Subdivision, Western District, New Providence,
                      Condominium          The Bahamas Dated 5/30/2022
                      Association
207. FTX Property     The Marina           Indenture And Deed Of Conveyance - Unit 6, Albany       $0
     Holdings, Ltd.   Residences At        Situate, New Providence, Bahamas Dated 1/18/2022
                      Albany Building 8
                      Condominium
                      Association
208. FTX Property     The Marina           Indenture And Deed Of Conveyance - Unit No. Id,         $0
     Holdings, Ltd.   Residences At        Building 9, Gemini, Marina Residences At Albany
                      Albany Building 9    Subdivision, Western District, New Providence, The
                      Condominium          Bahamas Dated 6/9/2022
                      Association
209. FTX Property     Veridian             Conveyance For All Those Units Numbered 18, 24, 25,     $0
     Holdings, Ltd.   Corporate Center     26, 27 And 30 Dated 12/2/2021



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 #   Debtor(s)        Counterparty         Description of Contract or Lease                           Cure Amount
                      Association Ltd.

210. FTX Property     Veridian             Conveyance Agreement - Unit 23 Veridian Corporate          $0
     Holdings, Ltd.   Corporate Center     Centre Dated 4/8/2022
                      Association Ltd.
211. FTX Property     Veridian             Addendum Agreement For Sale Dated 8/23/2022                $0
     Holdings, Ltd.   Corporate Center
                      Association Ltd.
212. FTX Property     Veridian             Sale Agreement Dated 6/22/2022                             $0
     Holdings, Ltd.   Corporate Center
                      Association Ltd.
213. FTX Property     Veridian             Lease of Easements with Veridian Corporate Center          $0
     Holdings, Ltd.   Corporate Center     Association dated 2nd December, 2021, Vol. 13785, Pgs.
                      Association Ltd.     567-582
214. FTX Property     Veridian             Sales Agreement with Veridian Development Group and        $0
     Holdings, Ltd.   Corporate Center     Veridian Corporate Center Association Ltd. 9th Oct.
                      Association Ltd.     2021
215. FTX Property     Veridian             Veridian Corporate Center #1-17, 19-22, 28, 29 -           $0
     Holdings, Ltd.   Corporate Center     Renewal policy schedule
                      Association Ltd.
                      Bahamas First
                      General Insurance
                      Company Limited
216. FTX Property     Veridian             Conveyance Agreement - Unit 23 Veridian Corporate          $0
     Holdings, Ltd.   Corporate Center     Centre Dated 4/8/2022
                      LLC
217. FTX Property     Veridian             Agreement For Sale Dated 1/21/2021                         $0
     Holdings, Ltd.   Corporate Center
                      LLC
218. FTX Property     Veridian             Sale And Purchase Agreement - Unit No. 23, Veridian        $0
     Holdings, Ltd.   Corporate Center     Corporate Center, Situate In The Western District Of The
                      LLC                  Island Of New Providence Dated 1/21/2022
219. FTX Property     Veridian             Veridian Corporate Center #1-17, 19-22, 28, 29 -           $0
     Holdings, Ltd.   Corporate Center     Commercial Property Insurance Policy details
                      LLC
220. FTX Property     Veridian             Indenture-Unit 27 Veridian (As Assigned To Ftx             $0
     Holdings, Ltd.   Development          Property Holdings Ltd. From Technology Services
                      Group Ltd            Bahamas Limited Dated 8/17/2021) Dated 6/1/2021
221. FTX Property     Veridian             Addendum Agreement For Sale Dated 8/23/2022                $0
     Holdings, Ltd.   Development
                      Group Ltd
222. FTX Property     Veridian             Sale Agreement Dated 10/1/2021                             $0
     Holdings, Ltd.   Development
                      Group Ltd.
223. FTX Property     Veridian             Conveyance For All Those Units Numbered 18, 24, 25,        $0
     Holdings, Ltd.   Development          26, 27 And 30 Dated 12/2/2021
                      Group Ltd.
224. FTX Property     Veridian             Conveyance Agreement - Unit 23 Veridian Corporate          $0
     Holdings, Ltd.   Development          Centre Dated 4/8/2022
                      Group Ltd.
225. FTX Property     Veridian             Sale Agreement Dated 6/22/2022                             $0
     Holdings, Ltd.   Development
                      Group Ltd.
226. FTX Property     Veridian             Sale And Purchase Agreement - “Veridian Corporate          $0
     Holdings, Ltd.   Development          Center” Office Units Numbered 18, 24,25,26,27 & 30
                      Group Ltd.           Dated 10/7/2021
227. FTX Property     Veridian             Sale And Purchase Agreement - “Veridian Corporate          $0
     Holdings, Ltd.   Development          Center”, Twenty-Two (22) Units Numbered 1, 2, 3, 4,



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 #   Debtor(s)        Counterparty         Description of Contract or Lease                         Cure Amount
                      Group Ltd.           5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 19, 20,
                                           21, 22, 28 And 29 Dated 6/17/2022
228. FTX Property     Winchester Realty    Sale and Purchase Agreement 2022-06-10 Agreement         $0
     Holdings, Ltd.   Ltd                  For Sale [Fully Executed] One Cable Beach Unit 603
229. FTX Property     Winchester Realty    Sale And Purchase Agreement - Unit Number 603 Of The     $0
     Holdings, Ltd.   Ltd.                 Condominium Known As "One Cable Beach “Situate In
                                           The Western District Of The Island Of New Providence
                                           Dated 6/8/2022
230. FTX Property     Winchester Realty    Letter Agreement Re: Unit 603 Of One Cable Beach         $0
     Holdings, Ltd.   Ltd. C/O Simon       Dated 6/8/2022
                      Lowe
231. FTX Property     Winchester Realty    Deed of conveyance OCB Unit 603 2022-08-11               $0
     Holdings, Ltd.   Ltd.;                Conveyance One Cable Beach Unit 603
                      One Cable Beach
                      Association
232. FTX Property     Winchester           One Cable Beach Unit G12 - Deed of conveyance            $0
     Holdings, Ltd.   Realty, Ltd.;
                      One Cable Beach
                      Association
233. FTX Property     Wynn                 Sale Agreement- Unit 228, Cable Beach, West Bay          $0
     Holdings, Ltd.   Development          Street, New Providence, The Bahama Dated 2/22/2022
                      Limited
234. FTX Property     Wynn                 Sale Agreement - Unit 232, Cable Beach, West Bay         $0
     Holdings, Ltd.   Development          Street, New Providence, The Bahama Dated 2/22/2022
                      Limited
235. FTX Property     Wynn                 Sale Agreement - Unit 337 Cable Beach, West Bay          $0
     Holdings, Ltd.   Development          Street, New Providence, The Bahamas Dated 2/22/2022
                      Limited
236. FTX Property     Wynn                 Sale Agreement - Unit 113 Cable Beach, West Bay          $0
     Holdings, Ltd.   Development          Street, New Providence, The Bahamas Dated 4/3/2022
                      Limited
237. FTX Property     Wynn                 Sale And Purchase Agreement - Unit Number 113 Of The     $0
     Holdings, Ltd.   Development          Condominium Building Known As “The Residences At
                      Limited              Goldwynn” To Be Constructed On The Condominium
                                           Parcel Situate In Cable Beach, West Bay Street, New
                                           Providence, The Bahamas Dated 2/28/2022
238. FTX Property     Wynn                 Sale And Purchase Agreement - Unit Number 436 Of The     $0
     Holdings, Ltd.   Development          Condominium Building Known As “The Residences At
                      Limited              Goldwynn” In Cable Beach, West Bay Street, New
                                           Providence, The Bahamas Dated 2/22/2022
239. FTX Property     Wynn                 Sale And Purchase Agreement - Unit Number 235 Of The     $0
     Holdings, Ltd.   Development          Condominium Building Known As “The Residences At
                      Limited              Goldwynn” In Cable Beach, West Bay Street, New
                                           Providence, The Bahamas Dated 2/22/2022
240. FTX Property     Wynn                 Sale And Purchase Agreement - Unit Number 434 Of The     $0
     Holdings, Ltd.   Development          Condominium Building Known As “The Residences At
                      Limited              Goldwynn” In Cable Beach, West Bay Street, New
                                           Providence, The Bahamas Dated 2/22/2022
241. FTX Property     Wynn                 Sale And Purchase Agreement - Unit Number 114 Of The     $0
     Holdings, Ltd.   Development          Condominium Building Known As “The Residences At
                      Limited              Goldwynn” In Cable Beach, West Bay Street, New
                                           Providence, The Bahamas Dated 2/22/2022
242. FTX Trading      Alvarez & Marsal     Restructuring Advisory                                   $0
     Ltd.
243. FTX Trading      Arthur George        Employee Invention Assignment And Confidentiality        $0
     Ltd.             Bryan Thomas         Agreement Dated 3/17/2020
244. FTX Trading      CHENG YIN BEI        SETTLEMENT AGREEMENT AND RELEASE                         $0
     Ltd.                                  DATED 10/11/2022



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 #   Debtor(s)         Counterparty          Description of Contract or Lease                    Cure Amount
245. FTX Trading       Citadel Securities    CONFIDENTIAL GLOBAL SETTLEMENT                      $0
     Ltd.              Americas LLC -        AGREEMENT DATED 1/13/2022
                       Heath Tarbert,
                       Jessica Fricke
246. FTX Trading       Darren Wong           SCREENING QUESTIONNAIRE                             $0
     Ltd.
247. FTX Trading       HYLAND                ONLINE HOSTED SOLUTION AGREEMENT FOR                $0
     Ltd.              SOFTWARE,             PILOT PERIOD
                       INC.
248. FTX Trading       John Stossel          Domain Name Purchase And Transfer Agreement Dated   $0
     Ltd.                                    2/24/2020
249. FTX Trading       Justworks             Customer Service Agreement                          $0
     Ltd.              Employment
                       Group LLC
250. FTX Trading       Justworks             Customer Service Agreement                          $0
     Ltd.              Employment
                       Group LLC
251. FTX Trading       Maxim Lott            Domain Name Purchase And Transfer Agreement Dated   $0
     Ltd.                                    2/24/2020
252. FTX Trading       Neil Patel            Employee Invention Assignment Agreement Dated       $0
     Ltd.                                    10/18/2021
253. FTX Trading       Owl Hill              Engagement Letter                                   $0
     Ltd.              Advisory, LLC
254. FTX Trading       Sullivan And          Legal                                               $0
     Ltd.              Cromwell LLP
255. FTX Trading       TRANSACTIVE           CONTRACT FOR PAYMENT / E-MONEY                      $0
     Ltd.              SYSTEMS UAB           SERVICES DATED 12/8/2021
256. Good Luck         John Conbere          EMPLOYEE INVENTION ASSIGNMENT AND                   $0
     Games, LLC                              CONFIDENTIALITY AGREEMENT DATED 3/1/2022
257. Ledger Holdings   Abaas Khorrami        Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: June 9, 2020
258. Ledger Holdings   Alexa Dexter          Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: April 23, 2018
259. Ledger Holdings   Brandon Kotara        Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: January 25, 2020
260. Ledger Holdings   Brian G. Mulherin     Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: April 1, 2020
261. Ledger Holdings   Christopher Day       Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: April 4, 2022
262. Ledger Holdings   Dexter J. Fish        Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: May 5, 2021
263. Ledger Holdings   Dorothy Zielinski     Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: April 7, 2022
264. Ledger Holdings   Erin Schwartz         Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: August 2, 2022
265. Ledger Holdings   Gabriel Camella       Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: January 18, 2022
266. Ledger Holdings   Jaad Coles            Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: November 14, 2019
267. Ledger Holdings   James Frederick       Proprietary Information And Inventions Agreement    $0
     Inc.              Outen                 Dated: November 4, 2021
268. Ledger Holdings   Jonathan Deruiter     Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: November 15, 2021
269. Ledger Holdings   Joshua Markou         Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: March 11, 2021
270. Ledger Holdings   Mary K. Principe      Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: February 9, 2021
271. Ledger Holdings   Rahul Sharma          Proprietary Information And Inventions Agreement    $0
     Inc.                                    Dated: May 3, 2021


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 #   Debtor(s)          Counterparty          Description of Contract or Lease                     Cure Amount
272. Ledger Holdings    Tyler Brady           Proprietary Information And Inventions Agreement     $0
     Inc.                                     Dated: October 31, 2021
273. Ledger Holdings    Veronica Jedzejec     Proprietary Information And Inventions Agreement     $0
     Inc.                                     Dated: May 13, 2021
274. Ledger Holdings    William Bradley       Proprietary Information And Inventions Agreement     $0
     Inc.                                     Dated: June 28, 2021
275. Ledger Holdings    Zachary Dexter        Proprietary Information And Inventions Agreement     $0
     Inc.                                     Dated: February 19, 2014
276. Quoine Pte Ltd     Jason Gunn            ADDENDUM TO EMPLOYMENT AGREEMENT                     $0
                                              DATED 6/1/2020
277. Quoine Pte Ltd     Jason Gunn            ADDENDUM TO EMPLOYMENT AGREEMENT                     $0
                                              DATED 7/1/2021
278. Quoine Pte Ltd     Jason Gunn            ADDENDUM TO EMPLOYMENT AGREEMENT                     $0
                                              DATED 10/1/2019
279. Quoine Pte Ltd     Jason Gunn            HEAD OF CUSTOMER SERVICE EMPLOYMENT                  $0
                                              AGREEMENT DATED 9/1/2018
280. Quoine Pte Ltd     Jered Geoffrey        ADDENDUM TO EMPLOYMENT AGREEMENT                     $0
                        Masters               DATED 7/1/2021
281. Quoine Pte Ltd     Jered Geoffrey        ADDENDUM TO EMPLOYMENT AGREEMENT                     $0
                        Masters               DATED 10/1/2021
282. Quoine Pte Ltd     Jered Masters         SALARY ADJUSTMENT AND ONE-TIME BONUS                 $0
                                              DATED 10/31/2022
283. Quoine Pte Ltd     Jered Masters         DEVELOPER EMPLOYMENT AGREEMENT DATED                 $0
                                              12/3/2018
284. Quoine Pte Ltd     Kita, Ma.             OPERATIONS SPECIALIST EMPLOYMENT                     $0
                        Rochelle B            AGREEMENT DATED 3/1/2021
285. Quoine Pte Ltd     OP SASCO LLC          ASSIGNMENT AGREEMENT DATED 10/26/2021                $0

286. West Realm         Paul Forest           EMPLOYEE INVENTION ASSIGNMENT AND                    $0
     Shires Financial                         CONFIDENTIALITY AGREEMENT DATED 3/15/2022
     Services Inc.
287. West Realm         Peter Muzzonigro      EMPLOYEE INVENTION ASSIGNMENT AND                    $0
     Shires Financial                         CONFIDENTIALITY AGREEMENT DATED 3/25/2022
     Services Inc.
288. West Realm         Taylor Terry          Employee Invention Assignment And Confidentiality    $0
     Shires Financial                         Agreement Dated 7/5/2022
     Services Inc.
289. West Realm         Andrew Franklin       Employee Invention Assignment And Confidentiality    $0
     Shires Inc.                              Agreement Dated 9/14/2021
290. West Realm         Citadel Securities    CONFIDENTIAL GLOBAL SETTLEMENT                       $0
     Shires Inc.        Americas LLC -        AGREEMENT DATED 1/13/2022
                        Heath Tarbert,
                        Jessica Fricke
291. West Realm         Jenny Jin A Bong      Employee Invention Assignment And Confidentiality    $0
     Shires Inc.                              Agreement
292. West Realm         Nishad Singh          Assignment Of Technology Agreement Dated 1/12/2021   $0
     Shires Inc.
293. West Realm         Sam Bankman-          Assignment Of Technology Agreement Dated 1/12/2021   $0
     Shires Inc.        Fried
294. West Realm         Zixiao Wang           Assignment Of Technology Agreement Dated 1/12/2021   $0
     Shires Inc.
295. West Realm         Adam Kalinich         Employee Invention Assignment And Confidentiality    $0
     Shires Services                          Agreement Dated 8/30/2021
     Inc.
296. West Realm         Adrienne During       Employee Invention Assignment And Confidentiality    $0
     Shires Services                          Agreement Dated 2/23/2022
     Inc.
297. West Realm         Aja Savon             Employee Invention Assignment And Confidentiality    $0
     Shires Services    Johnson               Agreement Dated 8/25/2022


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 #   Debtor(s)         Counterparty         Description of Contract or Lease                    Cure Amount
     Inc.

298. West Realm        Alexis Elisabeth     Employee Invention Assignment And Confidentiality   $0
     Shires Services   Janson               Agreement Dated 4/26/2022
     Inc.
299. West Realm        Alfred Xue           Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 12/16/2021
     Inc.
300. West Realm        Alian Fernandez      Employee Invention Assignment And Confidentiality   $0
     Shires Services   Mora                 Agreement Dated 3/23/2022
     Inc.
301. West Realm        Allen Clark          Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 9/27/2021
     Inc.
302. West Realm        Andrew Parnell       Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 2/14/2022
     Inc.
303. West Realm        Andrew Rasch         Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 4/8/2022
     Inc.
304. West Realm        Antonio Scott-       Employee Invention Assignment And Confidentiality   $0
     Shires Services   Vargas               Agreement Dated 1/31/2022
     Inc.
305. West Realm        Ashley Jaynes        Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 8/9/2021
     Inc.
306. West Realm        Austin Huff          Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 1/25/2022
     Inc.
307. West Realm        Avi Dabir            Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 7/11/2021
     Inc.
308. West Realm        Balaji Varadaraju    Employee Invention Assignment And Confidentiality   $0
     Shires Services   Mudaliyar            Agreement Dated 10/30/2021
     Inc.
309. West Realm        Bert Scott           Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 2/10/2022
     Inc.
310. West Realm        Brandon Nelson       Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 3/1/2022
     Inc.
311. West Realm        Brett Harrison       EMPLOYEE INVENTION ASSIGNMENT AND                   $0
     Shires Services                        CONFIDENTIALITY AGREEMENT DATED
     Inc.                                   5/15/2021
312. West Realm        Caroline             Employee Invention Assignment And Confidentiality   $0
     Shires Services   Papadopoulos         Agreement Dated 10/19/2021
     Inc.
313. West Realm        Chase Branham        Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 1/21/2021
     Inc.
314. West Realm        Cheuk Ying           Employee Invention Assignment And Confidentiality   $0
     Shires Services   (Josephine) Sun      Agreement Dated 8/9/2021
     Inc.
315. West Realm        Collin Sheehan       Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 7/15/2021
     Inc.
316. West Realm        Daniel Chapsky       Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 6/10/2021
     Inc.



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 #   Debtor(s)         Counterparty        Description of Contract or Lease                    Cure Amount
317. West Realm        Danielle Cloud      Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 10/11/2021
     Inc.
318. West Realm        Delaney Ornelas     Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 9/7/2021
     Inc.
319. West Realm        Devon Bernard       Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 10/19/2021
     Inc.
320. West Realm        Deyvis Gonzalez     Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 9/6/2021
     Inc.
321. West Realm        Domenic Fiore       Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 9/14/2021
     Inc.
322. West Realm        Ege Mihmanli        Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 4/13/2022
     Inc.
323. West Realm        Eliora Katz         Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 3/20/2022
     Inc.
324. West Realm        Elvia Delgadillo    Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 5/28/2021
     Inc.
325. West Realm        Emma D'Alessio      Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 10/24/2022
     Inc.
326. West Realm        Evgeny Glinskiy     Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 8/9/2021
     Inc.
327. West Realm        Fabrizio            Employee Invention Assignment And Confidentiality   $0
     Shires Services   Cecchettini         Agreement Dated 9/2/2021
     Inc.
328. West Realm        Felix Chidi         Employee Invention Assignment And Confidentiality   $0
     Shires Services   Okocha              Agreement Dated 7/15/2021
     Inc.
329. West Realm        Genevieve St-       Employee Invention Assignment And Confidentiality   $0
     Shires Services   Michel              Agreement Dated 3/6/2022
     Inc.
330. West Realm        Heather Huston      Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 8/6/2021
     Inc.
331. West Realm        Hyland Software,    ONLINE HOSTED SOLUTION AGREEMENT                    $0
     Shires Services   Inc
     Inc.
332. West Realm        Hyung Kyu Jun       Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 10/21/2022
     Inc.
333. West Realm        Jack Roberts        EMPLOYEE INVENTION ASSIGNMENT AND                   $0
     Shires Services                       CONFIDENTIALITY AGREEMENT DATED 11/4/2021
     Inc.
334. West Realm        Jacob Halter        Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 9/26/2021
     Inc.
335. West Realm        Jason Huang         Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 3/23/2022
     Inc.
336. West Realm        Javed Bartlett      Employee Invention Assignment And Confidentiality   $0
     Shires Services                       Agreement Dated 1/14/2022



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 #   Debtor(s)         Counterparty         Description of Contract or Lease                    Cure Amount
     Inc.

337. West Realm        Jeffrey Alan Aziz    Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 9/5/2022
     Inc.
338. West Realm        Jeremy Cranford      Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 1/31/2022
     Inc.
339. West Realm        Jessica Moser        EMPLOYEE INVENTION ASSIGNMENT AND                   $0
     Shires Services                        CONFIDENTIALITY AGREEMENT DATED 9/8/2021
     Inc.
340. West Realm        Joe Bankman          Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 12/28/2021
     Inc.
341. West Realm        John Conbere         Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 3/1/2022
     Inc.
342. West Realm        Jordan Dunne         Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 12/28/2021
     Inc.
343. West Realm        Joshua Leyton        Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 3/1/2022
     Inc.
344. West Realm        Karim Claros         Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 3/29/2022
     Inc.
345. West Realm        Karista Vaeth        Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 8/8/2021
     Inc.
346. West Realm        Keesan Nam           Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 10/10/2021
     Inc.
347. West Realm        Kiernan              Employee Invention Assignment And Confidentiality   $0
     Shires Services   Fitzsimons           Agreement Dated 8/29/2021
     Inc.
348. West Realm        Lionel Williams      Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 5/29/2021
     Inc.
349. West Realm        Lotta Blumberg       Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 5/13/2022
     Inc.
350. West Realm        Louis Frangella      Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 8/30/2021
     Inc.
351. West Realm        Luis Guinand         Employee Invention Assignment And Confidentiality   $0
     Shires Services   Mckinstry            Agreement Dated 12/16/2021
     Inc.
352. West Realm        Luis Scott-Vargas    Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 3/1/2022
     Inc.
353. West Realm        Maria Gabriela       Employee Invention Assignment And Confidentiality   $0
     Shires Services   Montero              Agreement Dated 2/25/2022
     Inc.
354. West Realm        Maria Shaikh         Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 5/29/2021
     Inc.
355. West Realm        Marissa              Employee Invention Assignment And Confidentiality   $0
     Shires Services   Macdonald            Agreement Dated 3/1/2022
     Inc.



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 #   Debtor(s)         Counterparty         Description of Contract or Lease                    Cure Amount
356. West Realm        Mark Khalil          Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 4/1/2022
     Inc.
357. West Realm        Matthew Lackey       Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 2/9/2022
     Inc.
358. West Realm        Matthew Nass         EMPLOYEE INVENTION ASSIGNMENT AND                   $0
     Shires Services                        CONFIDENTIALITY AGREEMENT DATED 3/1/2022
     Inc.
359. West Realm        Matthew Place        EMPLOYEE INVENTION ASSIGNMENT AND                   $0
     Shires Services                        CONFIDENTIALITY AGREEMENT DATED 3/1/2022
     Inc.
360. West Realm        Megan Mason          Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 12/17/2021
     Inc.
361. West Realm        Mikael Keussen       Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 7/2/2021
     Inc.
362. West Realm        Mike Hart            Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 9/8/2021
     Inc.
363. West Realm        Monika Karam         Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 11/6/2022
     Inc.
364. West Realm        Morgan Eattock       EMPLOYEE INVENTION ASSIGNMENT AND                   $0
     Shires Services                        CONFIDENTIALITY AGREEMENT
     Inc.
365. West Realm        Nevin Aragam         EMPLOYEE INVENTION ASSIGNMENT AND                   $0
     Shires Services                        CONFIDENTIALITY AGREEMENT DATED 6/3/2022
     Inc.
366. West Realm        Nick Beckstead       Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 11/25/2021
     Inc.
367. West Realm        Nicole Janeway       Employee Invention Assignment And Confidentiality   $0
     Shires Services   Bills                Agreement Dated 7/7/2022
     Inc.
368. West Realm        Nils Molina          Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 10/12/2021
     Inc.
369. West Realm        Oscar Messina Jr.    Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 10/26/2021
     Inc.
370. West Realm        Paul Nathan          Employee Invention Assignment And Confidentiality   $0
     Shires Services   Clancy               Agreement Dated 7/6/2021
     Inc.
371. West Realm        Phuong Linh          Employee Invention Assignment And Confidentiality   $0
     Shires Services   Nguyen               Agreement Dated 9/17/2021
     Inc.
372. West Realm        Rebecca Lowe         Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement
     Inc.
373. West Realm        Ryan Baron           Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 2/13/2022
     Inc.
374. West Realm        Ryan Mendel          Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 3/16/2022
     Inc.
375. West Realm        Ryne Miller          Employee Invention Assignment And Confidentiality   $0
     Shires Services                        Agreement Dated 6/28/2021



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 #   Debtor(s)         Counterparty          Description of Contract or Lease                    Cure Amount
     Inc.

376. West Realm        Sam Pardee            Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 4/13/2022
     Inc.
377. West Realm        Savannah Alberty      Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 1/27/2022
     Inc.
378. West Realm        Scott Nagamine        Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 8/19/2021
     Inc.
379. West Realm        Scott R Forrester-    Employee Invention Assignment And Confidentiality   $0
     Shires Services   Sims                  Agreement Dated 4/14/2022
     Inc.
380. West Realm        Sebastian Ramirez     Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 1/24/2022
     Inc.
381. West Realm        Shannon Goerig        Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 6/16/2022
     Inc.
382. West Realm        Shawndea Dunzy        Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 5/28/2021
     Inc.
383. West Realm        Sheena Hart           Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 9/8/2021
     Inc.
384. West Realm        Sherwayne Allen       Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 8/12/2021
     Inc.
385. West Realm        Steven Sadin          Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 2/11/2022
     Inc.
386. West Realm        Trevor Harron         Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 7/7/2022
     Inc.
387. West Realm        Trevor Levine         Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 8/8/2021
     Inc.
388. West Realm        Tristan Yver          Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 9/2/2021
     Inc.
389. West Realm        Venu Palaparthi       Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 4/6/2022
     Inc.
390. West Realm        William Katz          Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 5/20/2022
     Inc.
391. West Realm        Yevgeny               Employee Invention Assignment And Confidentiality   $0
     Shires Services   Gurevich              Agreement Dated 6/1/2022
     Inc.
392. West Realm        Zhengxun Wu           Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 10/22/2022
     Inc.
393. West Realm        Zirui Zhang           Employee Invention Assignment And Confidentiality   $0
     Shires Services                         Agreement Dated 9/21/2021
     Inc.




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